Case 4:08-cr-10050-JEM Document 1 Entered on FLSD Docket 07/01/2008 Page 1 of 7

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

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8 U.S.C. § 1324(a)(1)(A)(v)()
8 U.S.C. § 1324(a)(1)(A)(iv) MAC GE

18 U.S.C. § 982(a)(6)(A)

UNITED STATES OF AMERICA
VS.

DUBIERKIS ALMEIDA-MOREJON
and

ERNESTO DIAZ-RODRIGUEZ,

Defendants.
/

INDICTMENT

 

The Grand Jury charges that:
COUNT 1

On or about February 23, 2007, upon the high seas and out of the jurisdiction of any
particular State or district, and elsewhere, with Monroe County, in the Southern District of Florida,
being the district to which the offenders were first brought, the defendants,

DUBIERKIS ALMEIDA-MOREJON
ERNESTO DIAZ-RODRIGUEZ,

did knowingly and willfully combine, conspire, confederate, and agree with each other and other
persons unknown to the Grand Jury, to commit an offense against the United States, that is, to
encourage and induce an alien to come to, enter, and reside in the United States, knowing and in
reckless disregard of the fact that such coming to, entry, and residence is and will be in violation of

law, in violation of Title 8, United States Code, Section 1324(a)(1)(A)(iv); all in violation of Title

8, United States Code, Section 1324(a)(1 )(A)(v)(D.
Case 4:08-cr-10050-JEM Document 1 Entered on FLSD Docket 07/01/2008 Page 2 of 7

COUNTS 2-33
On or about February 23, 2007, upon the high seas and out of the jurisdiction of any
particular State or district, with Monroe County, in the Southern District of Florida, being the
district to which the offenders were first brought, the defendants,
DUBIERKIS ALMEIDA-MOREJON
ERNESTO DIAZ-RODRIGUEZ,
did knowingly encourage and induce an alien, as to each count below, to come to, enter, and reside

in the United States, knowing and in reckless disregard of the fact that such coming to, entry, and

residence is and will be in violation of law:

Count Alien

2 L.M.A.G. (a minor)

3 J.C.P.A. (a minor)

4 Yaima Gonzalez-Gonzalez

5 Yamila Jimenez Moreno

6 E.P.A. (a minor)

7 Odalys Alfonso-Rodriguez

8 Dianelys Fernandez-Morales
9 Oleyda Diaz-Rodriguez

10 Jinet Garcia-Pedroso

11 Y.A.M. (a minor)

12 Maricel Gomez-Menendez
13 J.G.C. (a minor)

14 Marta Caridad Morejon Alfonso
Case 4:08-cr-10050-JEM Document 1 Entered on FLSD Docket 07/01/2008 Page 3 of 7

Count
15
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Alien

Yusimi Carvajal Alvarez

Maria Caridad Rivero-Silva
Rodolfo Jesus Hernandez-Diaz
Seren Domingo Garcia Morejon
Carlos Ponte-Morejon

Orisley Almeida-Fernandez
Ariel Caraballo Moreno

Jose Antonio Galindo Garcia
Roniel Genis-Perez

Reyte Daniel-Serano

Amaurys Cuesta-Catanera
Osmany Almeida-Alfonso
Yudier Contreras Ruiz

Jorge Galban-Carvajal

Denys Luis-Alfonso

Duniesky Almeida-Morejon
Jorge Luis Martinez-Garcia
Juan Ramon Hernandez-Hernandez

Jorge Galban Marquez

In violation of Title 8, United States Code, Section 1324(a)(1)(A)(iv), and Title 18, United

States Code, Section 2.
Case 4:08-cr-10050-JEM Document 1 Entered on FLSD Docket 07/01/2008 Page 4 of 7

CRIMINAL FORFEITURE
The allegations of Counts 1 through 33 of this Indictment are re-alleged and by this
reference fully incorporated herein for the purpose of alleging forfeiture to the United States of
America of certain property in which one or more of the defendants has an interest, pursuant to the
provisions of Title 18, United States Code, Section 982(a)(6)(A), and the procedures set forth in
Title 21, United States Code, Section 853 as incorporated by Title 18, United States Code, Section
982(b)(1).

Upon conviction of any of the offenses alleged in Counts | through 33 of this Indictment,
defendants, DUBIERKIS ALMEIDA-MOREJON and ERNESTO DIAZ-RODRIGUEZ, shall
forfeit to the United States: (1) any property, real or personal, constituting or derived from or
traceable to proceeds obtained directly or indirectly from the commission of the aforestated
offenses; and (2) any property, real or personal, including any conveyance used or intended to be
used to facilitate the commission of the aforesaid offenses.

All pursuant to Title 18, United States Code, Section 982 and Title 21, United States Code,
Section 853.

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\K<nA. Nh,

R. ALEXANDER ACOSTA \
UNITED STATES ATTORNEY

oPaa

RUSS BROWN
SPECIAL ASSISTANT UNITED STATES ATTORNEY

 
 

Case 4:08-cr-10050-JEM Document 1 Entered on FLSD Docket 07/01/2008 Page 5 of 7

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendants' Name DUBIERKIS ALMEIDA-MOREJON

Case No:

 

Count: 1

Conspiracy to Encourage and Induce Aliens to Enter the United States
Title 8, United States Code, Section 1324(a)(I (AWM)

* Max. Penalty: Ten years' imprisonment

Counts: 2-33

Encouraging and Inducing Aliens to Enter the United States

Title 8. United States Code, Section 1324(a)(1)(A)Gv)

* Max. Penalty: Five years’ imprisonment
 

Case 4:08-cr-10050-JEM Document 1 Entered on FLSD Docket 07/01/2008 Page 6 of 7

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

 

Defendants' Name ERNESTO DIAZ-RODRIGUEZ

Case No:

 

Count: 1

Conspiracy to Encourage and Induce Aliens to Enter the United States
Title 8. United States Code, Section 1324(a)\( (AW)

* Max. Penalty: Ten years’ imprisonment

Counts: 2-33

Encouraging and Inducing Aliens to Enter the United States

Title 8. United States Code, Section 1324(a)(1)(A)Gv)

* Max. Penalty: Five years’ imprisonment
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UNITED STATES OF AMERICA

‘s ““CR-MARTINEZ __ MAGISTRATE supce

CERTIFICATE OF TRIAL ATTORNEY* BROWN

 

DUBIERKIS ALMEIDA-MOREJON and
ERNESTO DIAZ-RODRIGUEZ,

 

 

Defendants.
Superseding Case Information:
Court Division: (Select One) New Defendant(s) Yes No ——
Number of New Defendants —_——-
—__._—SOMiami:«~=CX Key West Total number of counts —_——_
—— FTL —— WPB — FTP
| do hereby certify that:
1. | have carefully considered the allegations of the indictment, the number of defendants, the number of

probable witnesses and the legal complexities of the Indictment/Information attached hereto.

2. |_am aware that the information supplied on this statement will be relied upon by the Judges of this
Court in setting their calendars and scheduling criminal trials under the mandate of the Spee y Trial Act,
Title 28 U.S.C. Section 3161.

3. Interpreter: (Yes or No) Yes__

 

 

 

 

List language and/or dialec Spanish
4. This case will take _2-3.. days for the parties to try.
Please check appropriate category and type of offense listed below:
(Check only one) (Check only one)
| 0 to 5 days —xX__ Petty
I 6 to 10 days —___-. Minor
ti 11 to 20 days ——_ Misdem.
IV 21 to 60 days ——_ Felony —xX__.
Vv 61 days and over
6 Has this case been previously filed in this District Court? (Yes or No) —No___
es:
Judge: _- Case No.
(Attach copy of dispositive order)
Has a complaint been filed in this matter? (Yes or No) No

If yes:

Magistrate Case No.

Related Miscellaneous numbers:
Dee ngenisy in federal custody as of

 

 

 

 

 

 

 

 

Defendant(s) in state custody as of

Rule 20 from the District of

Is this a potential death penalty case? (Yes or No) —No_

7. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior
to October 14, 2003? Yes No

8. Does this case onginate from a matter pending in the Central Region of the U.S. Attorney's Office prior
to September 1, 2007? Yes —X— No

 

RUSS BROWN™
SPECIAL ASSISTANT UNITED STATES ATTORNEY
Court ID No. A5501216

*Penalty Sheet(s) attached REV 4/8/08
